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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT of CALIFORNIA

                           CRIMINAL HEARING MINUTES

 Judge:            Jon S. Tigar                         Time in Court:     32 minutes
 Date:             May 17, 2024
 Case No.          4:20-cr-00266-JST-1

 United States of America            v.          Michael Brent Rothenberg

                                            Defendant
                                           Present
                                           Not Present
                                           In Custody

 Kyle Waldinger                                         Hanni Fakhoury
 Nicholas Walsh                                         Nate Torres
 Benjamin Kleinman                                      James Thomson, Advisory
 U.S. Attorney                                          Defense Counsel



 Courtroom Deputy Clerk: Kelly Collins                  Court Reporter: Summer Fisher


                                    PROCEEDINGS

Motion Hearing re Renewed Rule 29 Motion for Acquittal on Counts 3 and 5-23 and Rule 33
Motion for New Trial-Held.

                                RESULT OF HEARING

   1. The Court heard argument from parties regarding each of the motions. Motions taken
      under submission. Written orders to issue.
   2. 2. No new dates set.




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